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                      Exhibit A
3/9/2021          Case 1:19-cv-07777-GBD-OTW                 Document
                            DHS Statement on Litigation Related to the Public 283-1     Filed
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              Official website of the Department of Homeland Security

                          U.S. Department of
                          Homeland Security




        DHS Statement on Litigation
        Related to the Public Charge
        Ground of Inadmissibility
        Release Date: March 9, 2021

        On February 2, 2021, the President issued Executive Order 14,012, directing the Secretary of
        Homeland Security to review the actions of the Department of Homeland Security (DHS or
        Department) related to the implementation of the public charge ground of inadmissibility.
        Consistent with the Executive Order, DHS has begun its review, as well as its consultation with
        other relevant agencies.

        As part of its review, DHS has determined that continuing to defend the final rule,
        Inadmissibility on Public Charge Grounds, 84 Fed. Reg. 41,292 (Aug. 14, 2019) (2019 Rule), is
        neither in the public interest nor an efficient use of limited government resources. Consistent
        with that decision, the Department of Justice will no longer pursue appellate review of judicial
        decisions invalidating or enjoining enforcement of the 2019 Rule.

        Once the previously entered judicial invalidation of the 2019 Rule becomes final, the 1999
        interim field guidance (https://www.federalregister.gov/documents/1999/05/26/99-13202/field-guidance-on-
        deportability-and-inadmissibility-on-public-charge-grounds) on the public charge inadmissibility
        provision (i.e., the policy that was in place before the 2019 Rule) will apply. Under the 1999
        interim field guidance, DHS will not consider a person’s receipt of Medicaid (except for
        Medicaid for long-term institutionalization), public housing, or Supplemental Nutrition
        Assistance Program (SNAP) benefits as part of the public charge inadmissibility
        determination. In addition, medical treatment or preventive services for COVID-19, including
        vaccines, will not be considered for public charge purposes.

        DHS and USCIS will provide additional updates regarding the administration of the public
        charge ground of inadmissibility, including announcing when DHS will cease applying the
        2019 Rule.

https://www.dhs.gov/news/2021/03/09/dhs-statement-litigation-related-public-charge-ground-inadmissibility                       1/2
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        For more information on equal access to vaccines and vaccine distribution sites specifically,
        please see DHS’s February 1 statement (https://www.dhs.gov/news/2021/02/01/dhs-statement-equal-
        access-covid-19-vaccines-and-vaccine-distribution-sites) on that subject.


        Keywords: Immigration Reform (/keywords/immigration-reform)

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https://www.dhs.gov/news/2021/03/09/dhs-statement-litigation-related-public-charge-ground-inadmissibility                       2/2
